Case 1:23-mi-99999-UNA Document 2907-18 Filed 09/08/23 Page 1 of 1

24TH JUDICIAL DISTRICT COURT

PARISH OF JEFFERSON
STATE OF LOUISIANA
ITEM NUMBER: WARRANT NUMBER:
F-21850-22
ARREST WARRANT
STATE OF LOUISIANA

VERSUS
ARMANDO JACOB WILLIAMS - BLACK/AFRICAN AMERICAN/MALE

3339 Bruxelles St New Orleans, Louisiana 70122
DOB: 03/23/2001

DLAD #11924458 SSN: XXX-XX-XXXX
Height: 5'10" Weight: 130

Eye Color: Brown Hair Color: Black
DM:

TO ANY COMMISSIONED PEACE OFFICER:

WHEREAS, complaint has been made to me, upon the sworn affidavit of Detective Andrew R
Bartholomew, with the Jefferson Parish Sheriff's Office, charging one Armando Jacob Williams with:

1 Count(s) of 14:71.1-- BANK FRAUD-- (Felony)
1 Count(s) of 14:67.16 C(1-3)-- Identity Theft (Felony)-- (Felony)
1 Count(s) of 14:67 B3-- Theft $1000 but less than $5000 (Felony)-- (Felony)

Committed on or about the date(s) of 06-23-2022.

Now, therefore, you are hereby commanded, in the name of the State, to apprehend and arrest and book the
said accused to answer the said complaint. You are further commanded to keep the said accused in safe
custody until released according to law, and this shall be your warrant.

Given under my official signature, this 19 day of Jul, 2022 at 04:19 PM.

CL Gor Alcic- LA Oruy
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Judge Paul Schneider

24TH JUDICIAL DISTRICT COURT
PARISH OF JEFFERSON
STATE OF LOUISIANA

PLAINTIFF’S
j EXHIBIT

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= Case Number; F-21850-22 Warrant Number: Approved on: Jul, 19, 2022 at 04:19 PM

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